     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 1 of 13 Page ID #:623



 1    JENNER & BLOCK LLP
      JULIE SHEPARD (SBN 175539)
 2    JShepard@jenner.com
      LAUREN GREENE (SBN 271397)
 3    LGreene@jenner.com
      515 South Flower Street, Suite 3300
 4    Los Angeles, CA 90071-2246
      Telephone: +1 213 239 5100
 5    Facsimile: +1 213 239 5199
 6    JENNER & BLOCK LLP
      WADE THOMSON (pro hac vice to be filed)
 7    WThomson@jenner.com
      BENJAMIN BRADFORD (adimtted pro hac vice)
 8    BBradford@jenner.com
      353 N. Clark Street
 9    Chicago, IL 60654-3456
      Telephone: +1 312 222 9350
10    Facsimile: +1 312 527 0484
11
      Attorneys for Defendant
12    ALIGHT SOLUTIONS LLC
13
                           UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
15
                                   SOUTHERN DIVISION
16
      CA, INC. d/b/a CA TECHNOLOGIES              Case No. 8:21-cv-01841-FLA(ASx)
17    (A BROADCOM COMPANY), a
      Delaware corporation,                 DEFENDANT’S NOTICE OF
18                                          MOTION AND MOTION TO
                                 Plaintiff, DISMISS PLAINTIFF’S FIRST
19                                          AMENDED COMPLAINT
            v.                              PURSUANT TO FED. R. CIV. PRO.
20                                          12(b)(6), OR IN THE
                                            ALTERNATIVE, FOR A MORE
21    ALIGHT SOLUTIONS LLC, an Illinois DEFINITE STATEMENT
      Limited Liability Company,            PURSUANT TO FED. R. CIV. PRO.
22                                          12(e); MEMORANDUM OF POINTS
                               Defendant.   AND AUTHORITIES IN SUPPORT
23
                                                  Date:     March 18, 2022
24                                                Time:     1:30 p.m.
25
                                                  Ctrm:     6B

26                                                Judge:     Hon. Fernando L. Aenlle-
                                                  Rocha
27                                                Complaint Filed: November 3, 2021
28
        DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
        COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                     DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 2 of 13 Page ID #:624




 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that on March 18, 2022 at 1:30 p.m., or as soon
 3    thereafter as the matter may be heard, Alight Solutions LLC (“Alight”) will, and
 4    hereby does, move the Court for an order dismissing Plaintiff CA, Inc.’s (“CA”) first
 5    claim for relief as stated in its First Amended Complaint (Dkt. No. 31) pursuant to
 6    Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim. In the
 7    alternative, Alight moves for an order requiring CA to provide a more definite
 8    statement pursuant to Federal Rule of Civil Procedure 12(e).
 9          Alight’s Motion is based on the grounds that CA’s first claim for relief fails
10    to state a claim against Alight and does not contain “sufficient factual matter,” even
11    if accepted as true, to “state a claim to relief that is plausible on its face.” Ashcroft
12    v. Iqbal, 556 U.S. 662, 663 (2009). It is also based on the grounds that CA’s first
13    claim for relief for copyright infringement is so vague and ambiguous as to the
14    software CA alleges Alight has infringed that Alight cannot reasonably be required
15    to frame a responsive pleading.
16          Alight’s Motion is based on this Notice of Motion and Motion, the attached
17    Memorandum of Points and Authorities, any additional briefing on this subject and
18    the evidence and arguments presented to the Court at the hearing on this matter.
19          This Motion is made following the conferences of counsel pursuant to Local
20    Rule 7-3, which took place on January 4 and 19, 2022.
21
      Dated: January 25, 2022                  JENNER & BLOCK LLP
22

23
                                         By: /s/ Julie Shepard
24                                           Julie Shepard
                                             Lauren Greene
25                                           Wade Thomson
                                             Benjamin Bradford
26
                                               Attorneys for Defendant
27                                             ALIGHT SOLUTIONS LLC
28
                                                 1
        DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
        COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                     DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 3 of 13 Page ID #:625




 1                                                    Table of Contents
 2

 3    I.        INTRODUCTION ........................................................................................... 1
 4    II.       SUMMARY OF ALLEGATIONS.................................................................. 2
 5    III.      LEGAL STANDARD ..................................................................................... 3
 6    IV.       ARGUMENT ................................................................................................... 5
 7              A.       CA’s Copyright Claim Should Be Dismissed As CA Has
                         Failed to Identify Sufficiently The Software Subject To The
 8                       Claim ..................................................................................................... 5
 9              B.       Alternatively, CA Should Be Required To Provide A More
                         Definite Statement Under Rule 12(e) .................................................... 7
10
      V.        CONCLUSION................................................................................................ 8
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                                     i
            DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
            COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                         DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 4 of 13 Page ID #:626




 1                                           TABLE OF AUTHORITIES
 2
                                                                                                                       Page(s)
 3
      Cases
 4
      Ashcroft v. Iqbal,
 5
         556 U.S. 662 (2009) .......................................................................................... 1, 4
 6
      Bell Atlantic Corp. v. Twombly,
 7       550 U.S. 544 (2007) .......................................................................................... 3, 4
 8
   Bespaq Corp. v. Haoshen Trading Co.,
 9    No. C 04-3698 PJH, 2005 WL 14841 (N.D. Cal. Jan. 3, 2005) ........................... 7
10 CA, Inc. v. Alight Solutions LLC,
11   No. 2:21-cv-08531 (C.D. Cal.) ............................................................................. 1

12 Casault v. Fed. Nat. Mortg. Ass'n,
     915 F. Supp. 2d 1113 (C.D. Cal. 2012), aff'd sub nom. Casault v.
13
     One W. Bank FSB, 658 F. App’x 872 (9th Cir. 2016) ..................................2, 3, 4
14
      Chestang v. Yahoo,
15      No. 11-CV-00989, 2012 WL 3915957 (E.D. Cal. Sept. 7, 2012) ........................ 5
16
   Fourth Estate Pub. Benefit Corp. v. Wall-Street.com, LLC,
17   139 S. Ct. 881 (2019) ........................................................................................ 5, 7
18 Lafarga v. Lowrider Arte Mag.,
19    No. SACV111501DOCMLGX, 2014 WL 12573551 (C.D. Cal.
      July 18, 2014)........................................................................................................ 5
20
   Livingston v. Morgan,
21
      No. C-06-2389 MMC, 2006 WL 8459602 (N.D. Cal. July 31,
22    2006) ..................................................................................................................... 5
23 Lucky Leather, Inc. v. Mitsui Sumitomo Ins. Grp.,
24    No. CV1209510MMMPLAX, 2013 WL 12139116 (C.D. Cal. Feb.
      26, 2013) ............................................................................................................... 4
25
   Patel Burica & Assocs., Inc. v. Lin,
26
      No. 819CV01833CASADSX, 2019 WL 6954256 (C.D. Cal. Dec.
27    19, 2019) ............................................................................................................... 5
28
                                                                   ii
          DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
          COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                       DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 5 of 13 Page ID #:627




 1 Proline Concrete Tools, Inc. v. Dennis,
 2    No. 07CV2310-LAB (AJB), 2008 WL 11286077 (S.D. Cal. Aug.
      18, 2008) ............................................................................................................... 7
 3
      Salt Optics, Inc. v. Jand, Inc.,
 4
         No. SACV 10-0828............................................................................................... 5
 5
      United States v. Ritchie,
 6      342 F.3d 903 (9th Cir. 2003) ................................................................................ 4
 7
      Court Rules
 8
      Federal Rule of Civil Procedure 8(a)(2) .................................................................... 5
 9
      Federal Rule of Civil Procedure 12(b)(6) .............................................................. 1, 4
10

11    Federal Rule of Civil Procedure 12(e) ................................................................... 1, 7

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                                  iii
         DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
         COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                      DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 6 of 13 Page ID #:628



 1    I.       INTRODUCTION
 2             This lawsuit is a part of Plaintiff CA, Inc.’s (“CA”) transparent effort to
 3    manufacture negotiating leverage against Alight Solutions LLC (“Alight”) for a
 4    software license. Alight licensed software from CA for over 20 years without issue.
 5    In June 2021, Alight allowed its license to CA’s Repository software to expire
 6    believing it no longer used the software. Shortly thereafter, Alight discovered a
 7    continuing need for Repository and offered to pay, and in fact did pay, CA the exact
 8    licensing fee that CA had requested just months before, an amount consistent with
 9    CA’s historical license and support fees. Rather than act in good faith, CA refused
10    Alight’s offer and returned Alight’s payment.1 CA instead attempted to terminate
11    Alight’s perpetual license to CA’s Endevor software and demanded that Alight make
12    a multi-million-dollar penalty payment and renew its license for a three year term at
13    more than 20 times CA’s prior offer.
14             When Alight refused CA’s extortionate license demand, CA rushed to the
15    courthouse to file a lawsuit, but in doing so, knowingly filed a defective copyright
16    claim in an inappropriate venue. In an attempt to cure the copyright defects, CA
17    then dismissed that initial case and filed a new lawsuit in this same inconvenient
18    venue. CA’s initial lawsuit, CA, Inc. v. Alight Solutions LLC, No. 2:21-cv-08531
19    (C.D. Cal.), asserted copyright claims over its software, even though it did not have
20    registered copyrights on that software. It is well established that such claims cannot
21    stand and must be dismissed.          CA’s previous complaints also included other
22    defective claims (replevin and declaratory judgment) that CA abandoned after a
23    meet and confer with Alight. See CA, Inc. d/b/a/ CA Technologies (A Broadcom
24    Company) v. Alight Solutions LLC, No. 2:21-cv-08531 (C.D. Cal.) at Dkt. No. 1.
25             CA now has alleged additional copyright registrations, but it continues to
26    evade the requirements of a properly pleaded copyright claim. Specifically, CA’s
27    1
       A full summary of CA’s conduct is set forth in Alight’s motion to transfer and
28    accompanying filings. See Dkt. Nos. 36-37.
                                                   1
            DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
           COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(B)(6), OR IN THE ALTERNATIVE, FOR A MORE
                        DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(E)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 7 of 13 Page ID #:629




 1    complaint does not identify the specific software that allegedly infringes its
 2    copyrights beyond a vague allegation to a 2019 order form (which it does not attach),
 3    and it does not identify which copyrights allegedly apply to each piece of software
 4    (if any). Without a cure for these deficiencies, Alight does not have sufficient notice
 5    of CA’s allegations required to properly defend against them.
 6            As part of the meet and confer process, CA stated that it will provide the
 7    requested information during the discovery process. Alight, however, should not be
 8    forced to defend against claims which CA apparently cannot properly delineate by
 9    registration in its pleadings and await discovery. Indeed, if CA has the correct
10    registrations, then there is no reason to withhold the requested information at this
11    stage other than gamesmanship. Alternatively, if CA lacks that information or
12    cannot meet the pleading requirements, then CA’s copyright claim should not stand.
13            For these reasons, as further detailed below, Alight requests that this Court
14    dismiss CA’s copyright claim or, alternatively, require CA to amend its claim to
15    provide a more definitive statement.2
16    II.     SUMMARY OF ALLEGATIONS
17            CA is a software company that designs products for use in a variety of
18    industries, including mainframe computing software. First Amended Complaint
19    (“FAC”) ¶ 10.) CA licenses its software to its various customers and monetizes its
20    software through licensing and software maintenance. (Id. ¶¶ 12, 30.)
21            Alight has been one of CA’s customers for a number of years. According to
22    the FAC, in 2005, CA and Aon Service Corporation (“Aon”), a former corporate
23    affiliate of Alight, entered into a license service agreement that permitted Aon to use
24    CA’s software (“2005 Agreement”). (Id. ¶ 13.)3 On March 31, 2018, CA, Aon, and
25
      2
26   Alight has filed a Motion to Transfer the Action to the Northern District of Illinois.
   (Dkt. No. 36).
27 3 Alight’s licenses for CA’s software pre-date 2005. However, for purposes of this
28 Motion, Alight takes CA’s allegations as pled, as it must, and without admission as
                                                  2
          DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
          COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                       DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 8 of 13 Page ID #:630




 1    Alight entered into an addendum, which, among other things, assigned Aon’s rights
 2    under the 2005 Agreement to Alight (“2018 Addendum”). (Id. ¶ 18).
 3           On June 30, 2019, Alight submitted an order form renewing the use and
 4    maintenance of certain CA software and products (the “2019 Order Form”). (Id. ¶
 5    20; Dkt. No. 37-28 (Declaration of Randal Sokol In Support Of Defendant Alight
 6    Solutions LLC’s Motion To Transfer The Action To The Northern District Of
 7    Illinois, Exhibit 28).) CA accepted this order form, which provided that Alight has
 8    a perpetual license to use Endevor and a license to use certain other CA software
 9    including Repository through June 29, 2021. (Dkt. No. 37-28; FAC ¶ 20.)4 Notably,
10    despite the fact that the 2019 Order Form sets forth the terms of Alight’s license of
11    CA’s software, CA did not attach the 2019 Order Form to its FAC. This is a
12    significant omission because the 2019 Order Form makes it clear that Alight had a
13    perpetual license to the Endevor software and also contains a list of the licensed
14    software.5 (Dkt. No. 37-28).
15           In Schedule A to its FAC, CA provides a list of copyrights that are allegedly
16    infringed by Alight, but CA fails to connect those copyrights to specific pieces of
17    software allegedly used by Alight. (FAC ¶ 30, Schedule A.)
18    III.   LEGAL STANDARD
19           “[A] complaint must be dismissed when a plaintiff’s allegations fail to set
20    forth a set of facts which, if true, would entitle the complainant to relief.” Casault,
21

22    to their veracity. See Casault v. Fed. Nat. Mortg. Ass'n, 915 F. Supp. 2d 1113, 1119–
      20 (C.D. Cal. 2012), aff'd sub nom. Casault v. One W. Bank FSB, 658 F. App’x 872
23    (9th Cir. 2016).
      4
24      There are thirteen pieces of software listed in the 2019 Order Form, five pieces of
      software with the name Endevor included in their titles and one piece of software
25    with the name Repository included in its title. (Dkt. No. 37-28.) The 2019 Order
26    Form grants Alight perpetual licenses to eight out of the thirteen pieces of software
      listed, including all of the Endevor software. (Id.)
27    5
        While not addressed in this Motion, Alight’s perpetual license to the Endevor
28    software dooms CA’s infringement claim regarding that software.
                                                3
        DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
        COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                     DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 9 of 13 Page ID #:631




 1    915 F. Supp. 2d at 1119. Thus, to avoid dismissal, a plaintiff’s complaint must plead
 2    “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic
 3    Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The plausibility standard is not akin
 4    to a ‘probability requirement,’ but it asks for more than a sheer possibility that a
 5    defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
 6    (citation omitted).
 7          A complaint must set forth sufficiently detailed, credible factual allegations,
 8    which are able to “raise a right to relief above the speculative level.” Twombly, 550
 9    U.S. at 555. A court will not accept bald assertions, untenable inferences, or
10    unsupported legal conclusions disguised as factual allegations. See id. at 555–56.
11    Moreover, a court is “not bound to accept as true a legal conclusion couched as a
12    factual allegation.” Iqbal, 556 U.S. at 678.
13          Further, although ordinarily a Rule 12(b)(6) motion is limited to the contents
14    of the complaint, “[u]nder the incorporation by reference doctrine, the court may
15    also consider documents ‘whose contents are alleged in a complaint and whose
16    authenticity no party questions, but which are not physically attached to the
17    pleading.’” Casault, 915 F. Supp. 2d at 1120 (citing Branch v. Tunnell, 14 F.3d 449,
18    454 (9th Cir. 1994), overruled on other grounds by 307 F.3d 1119, 1121 (9th Cir.
19    2002)); see United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (explaining
20    that a document “may be incorporated by reference into a complaint if the plaintiff
21    refers extensively to the document or the document forms the basis of the plaintiff’s
22    claim”). Therefore, the incorporation by reference doctrine allows this Court to
23    consider the 2019 Order Form (Dkt. No. 37-28) which forms the basis of CA’s
24    claims.     See Lucky Leather, Inc. v. Mitsui Sumitomo Ins. Grp., No.
25    CV1209510MMMPLAX, 2013 WL 12139116, at *1 (C.D. Cal. Feb. 26, 2013)
26    (considering contract on motion to dismiss that was not attached to complaint
27
28
                                                4
        DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
        COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                     DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 10 of 13 Page ID #:632




 1    because it was “repeatedly reference[d]” in the complaint and “[plaintiff’s] two
 2    claims [we]re based entirely on the contract”).
 3           Under this framework, it is clear that CA’s claim for copyright infringement
 4    should be dismissed.
 5    IV.    ARGUMENT
 6           A.    CA’s Copyright Claim Should Be Dismissed As CA Has Failed to
                   Identify Sufficiently The Software Subject To The Claim
 7
             Registration is a prerequisite for a suit for copyright infringement, meaning
 8
      CA cannot maintain a claim based on software it has not registered. See Fourth
 9
      Estate Pub. Benefit Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881, 886–87 (2019).
10
      Correspondingly, in the Ninth Circuit, under Rule 8(a)(2), when alleging copyright
11
      infringement, a plaintiff must “identify the particular work that is the subject of the
12
      copyright claim.” Lafarga v. Lowrider Arte Mag., No. SACV111501DOCMLGX,
13
      2014 WL 12573551, at *3 (C.D. Cal. July 18, 2014). And the “plaintiff must at least
14
      allege facts that allow a defendant to ‘identify which specific [works] they are
15
      alleged to have impermissibly copied.’” Patel Burica & Assocs., Inc. v. Lin, No.
16
      819CV01833CASADSX, 2019 WL 6954256, at *3 (C.D. Cal. Dec. 19, 2019)
17
      (quoting Boost Beauty, LLC. v. Woo Signatures, LLC, No. 18-CV-02960-CAS-E,
18
      2018 WL 6219895, at *4 (C.D. Cal. July 23, 2018)).
19
             Courts regularly dismiss complaints which fail to properly identify the
20
      copyrighted work at issue. See, e.g., Livingston v. Morgan, No. C-06-2389 MMC,
21
      2006 WL 8459602, at *3 (N.D. Cal. July 31, 2006) (dismissing for failure to specify
22
      copyright infringed where complaint alleged that there were fifty-eight copyrighted
23
      photographs at issue and that defendants had copied “at least one” photograph); Salt
24
      Optics, Inc. v. Jand, Inc., No. SACV 10-0828 DOC (RNBx), 2010 WL 4961702, at
25
      *6 (C.D. Cal. Nov. 19, 2010) (dismissing a complaint were the “Plaintiff ma[de] no
26
      attempt to identify which portions of the website or catalog it accuse[d] Defendants
27
      of infringing”); Chestang v. Yahoo, No. 11-CV-00989, 2012 WL 3915957, at *5
28
                                                 5
         DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
         COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                      DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 11 of 13 Page ID #:633




 1    (E.D. Cal. Sept. 7, 2012) (granting the defendant’s motion to dismiss where the
 2    plaintiff did not clearly describe what the “Luminous Lyrics” copyright referred to
 3    or what in the defendant’s ringtones infringed on this copyright).
 4             Here, CA alleges only that it “registered the software programs licensed to
 5    Alight under the 2019 Order Form with the Federal Register of Copyrights, as listed
 6    in Schedule A of the Complaint.” (FAC ¶ 30.) Despite relying on the 2019 Order
 7    Form for its identification of the allegedly infringing software programs, CA fails to
 8    attach that form, thus failing in the FAC to provide notice as to CA’s software at
 9    issue.
10             Further, even if the 2019 Order Form were to be considered, CA’s Schedule
11    A fails to meet the law in this Circuit requiring identification of the infringing
12    software and the correspondent registrations. There are thirteen software programs
13    listed on the 2019 Order Form yet only nine registrations listed on Schedule A to the
14    FAC. (FAC at Schedule A.) This indicates that not all of the software programs
15    listed on the 2019 Order Form are registered. Indeed, the names on the copyright
16    registrations do not match the names of the software Alight licensed from CA under
17    the 2019 Order Form. For example, the 2019 Order Form includes programs such
18    as “CA 1 Tape Management MIPS” (Dkt. No. 37-28) yet Schedule A does not appear
19    to have any copyright registrations with regard to that software. (FAC at Schedule
20    A).
21             Moreover, while most of the registrations on Schedule A appear to relate to
22    the Endevor software because they reference “Endevor” in the title, the 2019 Order
23    Form contains five different software packages that all include “Endevor” in their
24    name and none of the names are the same on the 2019 Order Form and Schedule A.
25    Similarly, three of the registrations on Schedule A reference the word “Repository”
26    in the title, yet only one piece of software on the 2019 Order Form includes the word
27    “Repository” in its name. As a result, the FAC provides insufficient notice to Alight
28
                                                 6
         DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
         COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                      DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 12 of 13 Page ID #:634




 1    as to which CA copyright registration, if any, purportedly applies to the software
 2    allegedly infringed.
 3           Put differently, it is not clear from the face of the FAC that CA has registered
 4    the software identified in the 2019 Order Form and which of the listed registered
 5    works Alight has supposedly infringed. This is a threshold issue because, as noted
 6    above, registration is a prerequisite to suing for copyright infringement.           See
 7    Fourth Estate Pub. Benefit Corp., 139 S. Ct. at 886–87. As a result of these pleading
 8    infirmities, CA’s copyright claim in its entirety should be dismissed.
 9           B.    Alternatively, CA Should Be Required To Provide A More
                   Definite Statement Under Rule 12(e)
10
             In the alternative, Alight seeks a more definitive statement with respect to the
11
      works CA seeks to claim were infringed which are not subject to a perpetual license
12
      pursuant to Federal Rule of Civil Procedure 12(e). Under Rule 12(e), a party may
13
      move for a more definite statement if the pleading to which the party must respond
14
      “is so vague or ambiguous that the party cannot reasonably prepare a response.”
15
      Fed. R. Civ. P. 12(e). Again, the list of copyright registrations does not match the
16
      list of software licensed under the 2019 Order Form. This is vague and ambiguous
17
      warranting a more definite statement. See Proline Concrete Tools, Inc. v. Dennis,
18
      No. 07CV2310-LAB (AJB), 2008 WL 11286077, at *3 (S.D. Cal. Aug. 18, 2008)
19
      (complaint was vague and ambiguous under Rule 12(e) because it did not provide
20
      any actual description of its copyrights). Alight simply cannot properly respond to
21
      the FAC without a more definite statement. Therefore, should the Court decide not
22
      to dismiss CA’s copyright infringement claim, an order requiring CA to provide a
23
      statement tying its registrations to the software allegedly being used by Alight should
24
      be issued. Bespaq Corp. v. Haoshen Trading Co., No. C 04-3698 PJH, 2005 WL
25
      14841, at *2 (N.D. Cal. Jan. 3, 2005) (granting Rule 12(e) motion where the
26
      complaint “does not identify which preexisting works in the registered catalog have
27
      been infringed by the defendants”).
28
                                                 7
         DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
         COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                      DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
     Case 8:21-cv-01841-FLA-AS Document 48 Filed 01/25/22 Page 13 of 13 Page ID #:635




 1    V.       CONCLUSION
 2             For the foregoing reasons, Alight respectfully requests that this Court grant its
 3    Motion and dismiss CA’s first claim for relief.
 4    Dated: January 25, 2022                    JENNER & BLOCK LLP
 5

 6
                                           By: /s/ Julie Shepard
 7                                             Julie Shepard
                                               Lauren Greene
 8                                             Wade Thomson
                                               Benjamin Bradford
 9
                                                 Attorneys for Defendant
10                                               ALIGHT SOLUTIONS LLC
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                   8
           DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
           COMPLAINT PURSUANT TO FED. R. CIV. PRO. 12(b)(6), OR IN THE ALTERNATIVE, FOR A MORE
                        DEFINITE STATEMENT PURSUANT TO FED. R. CIV. PRO. 12(e)
